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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                    4:24CR3010

        vs.
                                                                       ORDER
EDUARDO GOMEZ,

                       Defendant.



        The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of a request for appointed counsel. After a review of the Financial
Affidavit, I find that the above-named defendant is eligible for appointment of counsel pursuant
to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan for the
District of Nebraska.

      IT IS ORDERED that Denise E. Frost is appointed as attorney of record for the above-
named defendant in this matter and shall forthwith file an appearance in this matter.

        IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall forthwith
provide counsel with a draft appointment order (CJA Form 20) bearing the name and other
identifying information of the CJA Panel attorney identified in accordance with the Criminal
Justice Act Plan for this district.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender for the District of Nebraska and Denise E. Frost.

       DATED this 24th day of January, 2024.

                                                    BY THE COURT:

                                                    s/ Jacqueline M. DeLuca
                                                    United States Magistrate Judge
